                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

DONNA LOU, III                                       *            CIVIL ACTION

VERSUS                                               *            NO. 21-80

SHERIFF JOSEPH P. LOPINTIO, III ET AL *                           SECTION “D-2"

*     *      *      *     *      *      *     *      *

 PARTIAL MOTION TO DISMISS THE FEDERAL CLAIMS AGAINST
SHERIFF LOPINTO IN HIS OFFICIAL CAPACITY PURSUANT TO FED.
                        R. CIV. P. 56

      NOW INTO COURT, through undersigned counsel, comes Defendant,

Sheriff Joseph P. Lopinto, III, in his official capacity as the Sheriff of Jefferson

Parish, who respectfully moves for partial dismissal of Plaintiffs’ claims or,

alternatively, for summary judgment.

      Sheriff Lopinto submits that Plaintiffs have failed to allege or establish that

he had an official policy, practice or custom that was the moving force behind any

alleged Constitutional harm and, therefore, have failed to establish a federal claim

against him in his official capacity.

      WHEREFORE, Sheriff Lopinto respectfully prays that, after due

proceedings are had, this motion be maintained, dismissing the claims against

Sheriff Lopinto in his official capacity with prejudice and at Plaintiffs’ cost.

                                        Respectfully submitted,

                                        /s/ James B. Mullaly
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                         CERTIFICATE OF SERVICE

I do hereby certify that on this 27th day of March 2023, a copy of the foregoing was
filed electronically with the Clerk of Court using the CM/ECF system. Notice of
this filing will be sent by operation of the court’s electronic filing system. I also
certify that a copy of the foregoing will be sent to all non-CM/ECF participants by
United States Mail, properly addressed and postage prepaid.


                                                      s/ James B. Mullaly
